






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-95-00085-CV







Texas Department of Health and Texas Department of Human Services, Appellants



v.



Texas Health Enterprises, Inc., d/b/a Celina Care Center, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 94-01483, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING







PER CURIAM


	Appellants have filed an amended motion to dismiss this appeal.  The motion is
granted.  Tex. R. App. P. 59(a)(1)(B).

	The appeal is dismissed.


Before Justices Powers, Kidd and B. A. Smith

Dismissed on Appellants' Amended Motion

Filed:   May 24, 1995	

Do Not Publish


